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                                                                                            MAR 022019


                     UNITED STATES DISTRICT CO                                                           TJAS
                                       WESTERN DISTRICT OF TEXAS

         UNITED STATES OF AMERICA

                              V.
                                                                     CRIMINAL COMPIAINT
         CHRISTOPHER ALMAGUER
                                                                     CASE NUMBER:

         I,   the undersigned complainant being duly sworn, state the following is true and

correct to the best of my knowledge and belief.

         From in or about November, 2017, until at least in or about December, 2017, in

Bell County, in the Western District of Texas, defendant(s), employ, use, persuade,

induce, entice, and coerce or did attempt to employ, use, persuade, induce, entice,

and coerce a minor to engage in sexually explicit conduct for the purpose of

producing a visual depiction of such conduct, and such visual depiction was

produced using materials that had been mailed, shipped, and transported in

interstate or foreign commerce, by any means,                      in violation of Title 18, United States

Code, Section(s) 2251 (a) and (e).

          I   further state that am a(n) Special Agent, United States Secret Service, and
                                   I




that this complaint is based on the following facts:

          SEE ATTACHED AFFIDAVIT

continued on the attached sheet and made a part hereof: YES



                                                 MARCUS IVEY, Special gent
                                                 United States Secret Service

Sworn to before me and subscribed in my presence,

March 2, 2018                                    Waco, Texas
Date                                             City and   S$e\

U.S. Magistrate Judge
Name & Title of Judicial Officer                 Signature of Judicial 0 icer
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                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Marcus Ivey, being duly sworn, state as follows:

        1.      I am a Special Agent (SA)      of the United States Secret Service (USSS), Waco

 Division, Waco Resident Agency. I have been employed as a Special Agent with the USSS for

 over nineteen years. My responsibilities include the investigation of crimes involving fraud

within the Western District of Texas. This includes the offense of counterfeiting U.S.
 currency. I have been involved with numerous investigations involving counterfeit U.S.
 currency. Additionally, I have had several opportunities to accompany the Texas Office
 of the Attorney General as they have executed search warrants pertaining to violations

 of 18 U.S.C.   §   2256. I have consulted with Texas Office of the Attorney General Sergeant Dara

 Bowlin. Sgt. Bowlin is assigned to investigate "Crimes Against Children" which includes child

 exploitation, child pornography, and the online sexual exploitation of children. She hsa received

training in the area and investigation of child pornography (as defined in 18 U.S.C.   §   2256) and

 child exploitation, and have, as part of her duties as a Texas Peace Officer, has investigated

violations relating to child exploitation and child pornography. These include crimes pertaining

to the possession, distribution, receipt, advertising, and production of child pornography, in

 violation of Title 18 United States Code, Sections 2251 and 2252A. The facts contained in this

 affidavit have been relayed to me by Sgt. Bowlin.

       2. This affidavit is submitted in support   of a criminal complaint against CHRISTOPHER

ALMAGUER ("ALMAGUER" or "Defendant"), a 26-year old born in 1991, for violations of Title

18, United States Code, Section 2251 and 2252A.

       3.       Title 18, United States Code, Section 2251 states, in relevant part:

       (a)    Any person who employs, uses, persuades, induces, entices, or coerces any
       minor to engage in, or who has a minor assist any other person to engage in, or who
       transports any minor in or affecting interstate or foreign commerce, or in any


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       Territory or Possession of the United States, with the intent that such minor engage
       in, any sexually explicit conduct for the purpose of producing any visual depiction
       of such conduct or for the purpose of transmitting a live visual depiction of such
       conduct, shall be punished as provided under subsection (e), if such person knows
       or has reason to know that such visual depiction will be transported or transmitted
       using any means or facility of interstate or foreign commerce or mailed, if that
       visual depiction was produced or transmitted using materials that have been mailed,
       shipped, or transported in or affecting interstate or foreign commerce by any means,
       including by computer, or if such visual depiction has actually been transported or
       transmitted using any means or facility of interstate or foreign commerce or in or
       affecting interstate or foreign commerce or mailed.

       4.        Title 18, United States Code, Section 2252A states, in relevant part:

        (a)      Any person who

                 (1)    knowingly mails, or transports or ships using any means or facility of
                        interstate or foreign commerce or in or affecting interstate or foreign
                        commerce by any means, including by computer, any child pornography;

                 (2)    knowingly receives or distributes

                        (A)     any child pornography that has been mailed, or using any means or
                                facility of interstate or foreign commerce shipped or transported in
                                or affecting interstate or foreign commerce by any means,
                                including by computer; or

                        (B)     any material that contains child pornography that has been mailed,
                                or using any means or facility or interstate or foreign commerce
                                shipped or transported in or affecting interstate or foreign commerce
                                by any means, including by computer;

                 (3)    knowingly
                        (A)     reproduces any child pornography for distribution through the mails,
                                or using any means or facility of interstate or foreign commerce or
                                in or affecting interstate or foreign commerce by any means,
                                including by computer; or

                        (B)     advertises, promotes, presents, distributes, or solicits through the
                                mails, or using any means or facility of interstate or foreign
                                commerce or in or affecting interstate or foreign commerce by any
                                means, including by computer, any material or purported material in
                                a manner that reflects the belief, or that is intended to cause another
                                to believe, that the material or purported material is, or contains




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                                (i)     an obscene visual depiction of a minor engaging in sexually
                                        explicit conduct; or

                                (ii)    a visual depiction of an actual minor engaging in sexually
                                        explicit conduct;



                (5)    either

                       (A)      knowingly possesses, or knowingly accesses with intent to view,
                                any book, magazine, periodical, film, videotape, computer disk, or
                                any other material that contains an image of child pornography that
                                has been mailed, or shipped or transported using any means or
                                facility of interstate or foreign commerce or in or affecting interstate
                                or foreign commerce by any means, including by computer, or that
                                was produced using materials that have been mailed, or shipped or
                                transported in or affecting interstate or foreign commerce by any
                                means, including computer;

                (6)    knowingly distributes, offers, sends, or provides to a minor any visual
                       depiction, including any photograph, film, video, picture, or computer
                       generated image or picture, whether made or produced by electronic,
                       mechanical, or other means, where such visual depiction is, or appears to
                       be, of a minor engaging in sexually explicit conduct

                       (A)      that has been mailed, shipped, or transported using any means or
                                facility of interstate or foreign commerce or in or affecting interstate
                                or foreign commerce by any means, including by computer;

                       (B)      that was produced using materials that have been mailed, shipped,
                                or transported in or affecting interstate or foreign commerce by any
                                means, including by computer; or

                       (C)      which distribution, offer, sending, or provision is accomplished
                                using the mails or any means or facility of interstate or foreign
                                commerce, for purposes of inducting or persuading a minor to
                                participate in any activity that is illegal;

        shall be punished as provided in subsection (b).

        5.      This affidavit is based on information relayed to me by Sgt. Bowlin. Because this

affidavit is being submitted for the limited purpose of establishing probable cause for the issuance

of the complaint, it does not contain every fact known to me or Sgt. Bowlin.


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                                                 FACTS

         6.        On February 26, 2018, your Affiant, Sgt. Dara Bowlin with the Office of the

Attorney General of Texas (OAG), Criminal Investigations Division, Child Exploitation Unit,

executed a federal search warrant at 1101 N.      4th   Street, Killeen, Texas. During the execution of

the warrant, CHRISTOPHER ALMAGUER and his wife SARAH ALMAGUER, were seen

walking towards the residence. Affiant spoke with CHRISTOPHER ALMAGUER and advised

him that SARAH ALMAGUER was under arrest. SARAH ALMAGUER was arrested on federal

complaint W18-44M, for violations of Title 18, United States Code, Section(s) 225 1(a) and (e).

         7.       During the search of 1101 N.   4th   Street, Killeen, Texas, photos were taken of all the

rooms.

         8.        SARAH ALMAGUER, had in her possession, a ZTE black and blue cell phone.

         9.       On March 1, 2018, Jeffrey C. Manske, United States Magistrate Judge, signed a

         warrant authorizing the search of the ZTE cell phone.

         10.       On March 2, 2018, your Affiant reviewed the Forensic Extraction Report the ZTE

         cell phone. Contained in the "Video" folder of the report are numerous vidos containing

         child pornography. Below are a descriptions of two (2) files depicting the same known 5-

         year-old female child. The child is wearing the same clothes in both videos:

               File Name                                                Description

 ORIGINAL_decrypted_21                                     A 27 second video depicting a 5-year-old girl who
                                                           appears to be asleep. An adult male penis is seen
                                                           ejaculating on the face/mouth of the 5-year-old girl.

 ORIG I NAL_decrypted_16                                   Is a1 mm  16 second video depicting a 5-year-old girl
                                                           who appears to be asleep. An adult male is seen
                                                           spreading the legs and vagina open, of the girl. The
                                                           adult male then inserts his finger(s) inside the vaginal
                                                           opening.




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        11.    Your Affiant noted that a male's face is visible in one of the videos and recognized

the face as that of CHRISTOPHER ALMAGUER. Additionally, your Affiant noted that the above

described videos were filmed in a room containing a light-colored couch (with a pattern). Affiant

recalls seeing the same couch inside the residence of 1101 N.    4th   Street, Killeen, Texas, during the

execution of the search warrant.

        12.    An OAG crime analyst assigned to the Child Exploitation Unit was able to locate a

Texas Identification Card for CHRISTOPHER ALMAGUER. Affiant compared the face depicted

in the video to a photo of CHRITOPHER ALMAGUER's Texas Identification Card and noted

they appear to be the same person.

                                           CONCLUSION

        13.    Based on the foregoing, there is probable cause to believe that CHRISTOPHER

ALMAGUER has committed the offenses set forth in the attached Criminal Complaint.

FURTHER AFFIANT SAYETH NAUGHT.

       I declare under penalty     of perjury that the foregoing is true and correct to the best of my

knowledge and belief.




                                                        MARCUS IVEY,           ial/geT1t
                                                        United States Secret Service


                                                                 2ND
       SWORN TO AND SUBCRIBED before me at on the                       day of March, 2018.




                                                        JEFFR'C. ISSNSKE
                                                        UNITED STATES MAGISTRATE JUDGE




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